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                   EXHIBIT 8
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CASE NAME / NO: 1000283530                CASE AGENT: S/A Trista Merz, IRS-CI

AUDIO RECORDING:      180222_0136.MP3     AUDIO MINUTE DURATION: 00:39:32

DATE:   02 / 22 / 2018 _

START TIME OF SESSION:     01 : 00 : PM

END TIME OF SESSION:       00 : 00 : PM


SUBJECT INFO:       CARLOS KEPKE
                    713-626-0612
11


DEVICE LOCATION:      RECORDING DEVICE WITH SPECIAL AGENT                _

MATTER TYPE: CONCEALED RECORDING DEVICE (WMA FILE)                       _

MONITOR:      N/A                                                        _



SPEAKERS:


SPECIAL AGENT #6134, IRS-CI                                      _

CARLOS KEPKE




TRANSCRIBER: P & P Language Svcs.         Date: March 1, 2018

TRANSCRIPT EDIT 1: P & P Language Svcs.   Date: March 9, 2018

TRANSCRIPT EDIT 2: P & P Language Svcs.   Date: March 12, 2018

AGENT REVIEW: ____________________        Date: ______________________

P&P FINAL REVIEW: _________________       Date: ______________________
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     DRAFT TRANSCRIPT


 1   (AUDIO RECORDING 180222_0136 – 39:42 MINUTES DURATION)

 2   U/C AGENT #6134:                        This is six-one-three-four (6134). Today is February twenty-

 3                                           second (22nd), two-thousand-eighteen (2018). The time’s

 4                                           approximately one o’clock (1:00) p.m., Eastern Standard Time.

 5                                           Preparing to make a consensually monitored phone call to Carlos

 6                                           Kepke at seven-one-three, six-two-six, zero-six-one-two (713-626-

 7                                           0612), part of the Denver field office.

 8   (TELEPHONE RINGS)

 9   CARLOS KEPKE:                           Hey, Robert.

10   U/C AGENT #6134:                        Carlos, how’s it goin’ buddy?

11   CARLOS KEPKE:                           It’s goin’ well, my friend, goin’ well.

12   U/C AGENT #6134:                        Excellent, that’s what I like to hear, man. It is raining cats and dogs

13                                           here right now.

14   CARLOS KEPKE:                           I’m sorry?

15   U/C AGENT #6134:                        It’s raining cats and dogs here in Pittsburgh.

16   CARLOS KEPKE:                           Same here.

17   U/C AGENT #6134:                        Same there? Okay.

18   CARLOS KEPKE:                           Yeah.

19   U/C AGENT #6134:                        Must be…

20   CARLOS KEPKE:                           Has been for three (3) days.

21   U/C AGENT #6134:                        Oh, my gosh... You guys have //flooding?

22   CARLOS KEPKE:                           //Yeah…no.

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 1   U/C AGENT #6134:                        No, //okay.

 2   CARLOS KEPKE:                           //It’s a light rain.

 3   U/C AGENT #6134:                        Okay, just enough to keep everything damp then, //so…

 4   CARLOS KEPKE:                           //Yeah.

 5   U/C AGENT #6134:                        (SNIFFS)

 6   CARLOS KEPKE:                           How was Colorado?

 7   U/C AGENT #6134:                        Colorado was good, man. It was, uh...unfortunately though it was

 8                                           raining out there too. //(CHUCKLES) So…

 9   CARLOS KEPKE:                           //Holy smokes.

10   U/C AGENT #6134:                        Yeah, I know, that’s very unusual, isn’t it? Uhm…

11   CARLOS KEPKE:                           Yeah.

12   U/C AGENT #6134:                        They have been dry as a bone and then, like, prob’ly the weekend

13                                           before I got there and the-uh-couple of days I was there just

14                                           pourin’ on rain ‘cause I planned on doing some mountain-biking

15                                           while I was out there and it sort of made, uh...didn’t make it very

16                                           easy, but, uhm… But, yeah, afterwards, I was able to, uh...call up

17                                           your guys (VOICE ECHOS) that you gave to me, and I really

18                                           appreciate that, uhm…

19   CARLOS KEPKE:                           Oh, who did you talk to?

20   U/C AGENT #6134:                        I spoke with both of ‘em, uhm…

21   CARLOS KEPKE:                           Oh, good.

22   U/C AGENT #6134:                        Yeah, yeah, both really nice guys. Uhm, //both, uh…

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 1   CARLOS KEPKE:                           //Yeah… [phon.]

 2   U/C AGENT #6134:                        …you know, very informative. The, uhm, (SNIFFS), you know,

 3                                           the guy down in, uh...Houston, uh...is that-...uh...is that Allen?

 4                                           Wait…

 5   CARLOS KEPKE:                           Yeah, //Allen Tiller.

 6   U/C AGENT #6134:                        //Right? Yeah, yeah, yeah, so he, uhm…

 7   CARLOS KEPKE:                           Mmm-hmm...

 8   U/C AGENT #6134:                        So, you know, really knowledgeable, you know, worked with you

 9                                           for a while. The other guy was a little-...a little off. Uhm...how do

10                                           you say his first name? Uhm, it’s, uh…

11   CARLOS KEPKE:                           Evatt. Evatt.

12   U/C AGENT #6134:                        Yes, that’s it. He, uhm…

13   CARLOS KEPKE:                           Yes.

14   U/C AGENT #6134:                        He-he was, uh...kinda-...he seemed like- ‘cause do you guys do

15                                           work together or…//the two (2) of you?

16   CARLOS KEPKE:                           //Yes, we do.

17   U/C AGENT #6134:                        Okay, ‘cause he was, like…

18   CARLOS KEPKE:                           //Yeah.

19   U/C AGENT #6134:                        //…a little bit off on that, like, what do you guys do-...he was a

20                                           little, not quite as clear as you were in terms of what-what kind of

21                                           work you guys do together.



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 1   CARLOS KEPKE:                           Well…I guess he didn’t want his…I guess he didn’t want to, uh...

 2                                           reveal too much about-...you know, a lot of people that I work with

 3                                           don’t want the world or anybody else to know they’re doin’

 4                                           foreign planning.

 5   U/C AGENT #6134:                        Okay.

 6   CARLOS KEPKE:                           There-there-there-this guys a long-term client, I mean really long-

 7                                           term, one of my oldest ones.

 8   U/C AGENT #6134:                        Okay.

 9   CARLOS KEPKE:                           Uhm, and his-...back when he started with me, probably seventy

10                                           (70%) percent of my clients were just absolutely, totally interested

11                                           in privacy.

12   U/C AGENT #6134:                        Hmm…

13   CARLOS KEPKE:                           They want-...they want the tax-...they wanted the tax benefits but

14                                           they wanted privacy.

15   U/C AGENT #6134:                        Okay.

16   CARLOS KEPKE:                           That was a big deal. Well, the privacy’s not available anymore

17                                           hardly.

18   U/C AGENT #6134:                        Hmm… //(CHUCKLES/SNIFFS)

19   CARLOS KEPKE:                           //And all-all-all these jurisdictions are…

20   U/C AGENT #6134:                        (SNIFFS)

21   CARLOS KEPKE:                           …are, uhm-uh-uh...Swiss Cheese is when it comes to talking to the

22                                           IRS if the IRS wants to talk to ‘em, //so…

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 1   U/C AGENT #6134:                        //Yup...

 2   CARLOS KEPKE:                           Privacy is not an issue but he’s an-a-a long-time client and, uh...

 3                                           and-and-and that’s just the way he is. I’m-I’m a little-little

 4                                           surprised, ‘cause I had a nice talk with him about you callin’ him

 5                                           and I said, I don’t-...you know, I don’t-...I never tell-...I don’t tell

 6                                           people precisely what I’ve done for any given client. I said…

 7   U/C AGENT #6134:                        //Sure.

 8   CARLOS KEPKE:                           //…no, I obviously didn’t tell him ‘bout what I do for you, he just

 9                                           wants to know, I guess, that I’m a good lawyer and I do do what I

10                                           tell people I do.

11   U/C AGENT #6134:                        Yeah, yup. (SNIFFS) //That’s-…

12   CARLOS KEPKE:                           //And he said, “I’ll be happy to talk to him. But you gotta

13                                           remember, he’s a Bermudian. Bermudians are, uhm...stuffy

14                                           English people.

15   U/C AGENT #6134:                        //(LAUGHS) I love that…

16   CARLOS KEPKE:                           //(CHUCKLES)… But he’s a good a guy.

17   U/C AGENT #6134:                        No…

18   CARLOS KEPKE:                           //(CHUCKLES)

19   U/C AGENT #6134:                        //…I love that description. Yeah, it was-...it was- ...that-that was

20                                           the only thing that was a little confusing. I-I mean, he was-...he

21                                           was fine. It was just a little confusing ‘cause your-your client you

22                                           guys have together, he’s-he’s a-an American like me, right?

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 1   CARLOS KEPKE:                           Yes.

 2   U/C AGENT #6134:                        Yeah, so, I mean…

 3   CARLOS KEPKE:                           //Yeah.

 4   U/C AGENT #6134:                        //…he was just sort of, you know, he was like, “oh, I really

 5                                           don’t…”

 6   CARLOS KEPKE:                           Oh.

 7   U/C AGENT #6134:                        “…really don’t work with Carlos anymore. I never really”- you

 8                                           know, it’s, “I really never have a whole lot.” And you know, he’s-

 9                                           he-...I mean, he spoke highly of you, said, you know, “he’s a good

10                                           guy,” but he’s like, “no, I really don’t work with him that type of

11                                           thing,” and I was like what? So, it was almost…

12   CARLOS KEPKE:                           //Well…

13   U/C AGENT #6134:                        //… kind…

14   CARLOS KEPKE:                           Uh...i-in a sense he’s-...he’s not bein’ accurate but he-...as a matter

15                                           of fact, last month he sent me a check for my fees…

16   U/C AGENT #6134:                        Okay.

17   CARLOS KEPKE:                           But what I think he’s means by that is…he is the Bermuda rep-

18                                           Bermuda representative of the principal client of my client.

19   U/C AGENT #6134:                        Okay.

20   CARLOS KEPKE:                           I don’t deal with my client anymore, I haven’t talked to my client

21                                           in five (5) years…

22   U/C AGENT #6134:                        Wow…

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 1   CARLOS KEPKE:                           …or more, maybe.

 2   U/C AGENT #6134:                        Awesome.

 3   CARLOS KEPKE:                           I just deal with Evatt.

 4   U/C AGENT #6134:                        Okay.

 5   CARLOS KEPKE:                           And what I do for-...what I do for him is…uh...eh-...Evatt pays me

 6                                           himself.

 7   U/C AGENT #6134:                        //Hmm…

 8   CARLOS KEPKE:                           //You know, out of-...I’m sure out of an-eh-eh- if it doesn’t come

 9                                           from my client, it comes from Evatt’s account in Bermuda.

10   U/C AGENT #6134:                        I see, okay.

11   CARLOS KEPKE:                           But what’s-...wh-what he means is, uh...is-uh-...as I said, he-...this

12                                           guy was my-...one of my oldest clients, m-maybe my-...prob’ly

13                                           my-...well, a really long time ago. And I-I think as I told you when

14                                           you were here, at least on the phone, if I do a plan for somebody

15                                           like I did for Bob – that’s his name – uh...and it’s done, and he-

16                                           and he implements it, then, you know, uh...I may never hear from

17                                           ‘em again.

18   U/C AGENT #6134:                        Oh, yeah, you did say that. Okay, I //gotcha.

19   CARLOS KEPKE:                           //Uh-huh...and there are-...and that’s sort of the case with Bob.

20   U/C AGENT #6134:                        Okay.




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 1   CARLOS KEPKE:                           Although, there is ongoing stuff that-that I deal with-with Evatt

 2                                           and Evatt was Bob’s Bermuda lawyer when I did everything for

 3                                           Bob…

 4   U/C AGENT #6134:                        Absolutely.

 5   CARLOS KEPKE:                           So-so in that sense, when he says, you know, “I don’t really do

 6                                           much with Carlos anymore,” he-he’s right and he’s wrong ‘cause

 7                                           we’re-...I’m not doing much for any-...for that client anymore

 8                                           ‘cause //I don’t have much…

 9   U/C AGENT #6134:                        //Hmm…

10   CARLOS KEPKE:                           …to do. But what I do do, I do with him.

11   U/C AGENT #6134:                        Okay.

12   CARLOS KEPKE:                           //Uh-uh...so…

13   U/C AGENT #6134:                        //I gotcha. Yeah, that-that…

14   CARLOS KEPKE:                           //Uh-…

15   U/C AGENT #6134:                        //…makes sense then. I mean, so you guys still talk on a fairly

16                                           regular basis and then, //doing all different stuff, yeah.

17   CARLOS KEPKE:                           //Well, he comes to Houston but-...he comes to Houston about

18                                           three (3) times a year. We always go out to dinner or //lunch

19                                           with…

20   U/C AGENT #6134:                        //Oh, nice.

21   CARLOS KEPKE:                           …my…

22   U/C AGENT #6134:                        Okay.

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 1   CARLOS KEPKE:                           No, and…

 2   U/C AGENT #6134:                        Yeah.

 3   CARLOS KEPKE:                           And if I ever go to Bermuda, which I haven’t done in years since

 4                                           Bermuda’s not a jurisdiction that we do much business anymore. I

 5                                           would be-...prob’ly be stayin’ at his house. Yeah, we’re //good

 6                                           friends.

 7   U/C AGENT #6134:                        //Oh, wow, that’s awesome. Yeah, and then-...and that’s-...and

 8                                           that’s what I wanted to hear. And heck, how can you not like a g-

 9                                           like a guy named Bob, I mean, right? (LAUGHS) That must //be

10                                           your specialty…

11   CARLOS KEPKE:                           //I do...

12   U/C AGENT #6134:                        …guys by the name of Bob and Robert, so…

13   CARLOS KEPKE:                           //(CHUCKLES)

14   U/C AGENT #6134:                        //(LAUGHS) And, but-...and-and-and I-I totally understand the

15                                           privacy thing and that’s hell, but, yeah, I mean, that-that goes a

16                                           long way. You know, telling me, “hey, you know, Bob’s an

17                                           American just like you.” You know, that helps out. That makes me

18                                           feel more comfortable if that’s what he’s dealing with or, uh...or

19                                           people. //That’s why I didn’t…

20   CARLOS KEPKE:                           //Well, he’s a-…

21   U/C AGENT #6134:                        Yeah.

22   CARLOS KEPKE:                           He has a-...he owns a-a computer company…

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 1   U/C AGENT #6134:                        (SNIFFS) Okay. (SNIFFS)

 2   CARLOS KEPKE:                           Which is huge and it does all the business. Like, if you were-

 3                                           ...with-with car dealers, like, if you’re a car dealer in New Jersey…

 4   U/C AGENT #6134:                        Okay.

 5   CARLOS KEPKE:                           …and you need a fender for, uh...you know, like some kind of a

 6                                           Chevrolet or somethin’, uhm...you-...uh-uhm-...like, their

 7                                           computers, uh-uh...are owned by m-my guy’s company.

 8   U/C AGENT #6134:                        Oh, wow, whew.

 9   CARLOS KEPKE:                           And I mean, worldwide…

10   U/C AGENT #6134:                        Wow.

11   CARLOS KEPKE:                           Big deal.

12   U/C AGENT #6134:                        That is huge, wow...

13   CARLOS KEPKE:                           Yeah, he was-...he was private. He was privately owned, the

14                                           company for years and about, oh, I’m sayin’ about seven (7) or

15                                           eight (8) years ago, uhm...he-he bought his biggest competitor…

16   U/C AGENT #6134:                        ‘Kay.

17   CARLOS KEPKE:                           He was the second (2nd) biggest and he bought the biggest guy in

18                                           the business…

19   U/C AGENT #6134:                        Wow...

20   CARLOS KEPKE:                           And so now they’re a-...now they’re a public company.

21   U/C AGENT #6134:                        Whew… How do you do that? That isn’t very often where the

22                                           second (2nd) biggest buys the biggest guy, you know?

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 1   CARLOS KEPKE:                           //That’s right. Isn’t very-…

 2   U/C AGENT #6134:                        //That’s-that’s a testament to that one, Carlos. That’s awesome,

 3                                           man.

 4   CARLOS KEPKE:                           Yeah.

 5   U/C AGENT #6134:                        That’s really good, wow. And is that-that’s basically-...‘cause he

 6                                           said he had, like – what’d he say, just, like one (1). Uh-uhm...like,

 7                                           a trust, so he basically runs a trust company. Or wait, how did he

 8                                           describe it. I can’t remember. //It confused me.

 9   CARLOS KEPKE:                           //Yeah, well-well-well, a-and since all that’s happened, the guy

10                                           get-muh-uh-Bob has so much money. He’s made-...I mean, he’s a-

11                                           a multi-billionaire.

12   U/C AGENT #6134:                        Wow...

13   CARLOS KEPKE:                           He set up a charitable trust.

14   U/C AGENT #6134:                        ‘Kay.

15   CARLOS KEPKE:                           And I can’t tell you the name of it because it’s his name.

16                                           //(CHUCKLES)

17   U/C AGENT #6134:                        //Sure, okay...

18   CARLOS KEPKE:                           But, he funds, uhm...like, he gave just tons of money to colleges,

19                                           Rice University here is a big-...got a couple buildings named after

20                                           him.

21   U/C AGENT #6134:                        Wow...

22   CARLOS KEPKE:                           And Evatt…Evatt, now, has been-...main job is-is to run the trust.

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 1   U/C AGENT #6134:                        Oh...

 2   CARLOS KEPKE:                           You know, he-he…

 3   U/C AGENT #6134:                        //Okay.

 4   CARLOS KEPKE:                           //…interviews the people and decide-...and tells Bob, you know, “I

 5                                           think Rice is a good one. Here’s why.” Th-they’re big on school

 6                                           that-that do computer work, computer stuff.

 7   U/C AGENT #6134:                        Okay, wow...

 8   CARLOS KEPKE:                           So, Evatt, I just-I-Evatt, I think, and the trust is in Bermuda, which

 9                                           is why Evatt’s runnin’ it. But, Evatt, I think is somewhat removed

10                                           from the day-to-day business of the car computing company.

11   U/C AGENT #6134:                        Mmm-hmm...yup.

12   CARLOS KEPKE:                           As am-...as-as am I. I’m totally not a part of that.

13   U/C AGENT #6134:                        Mmm-hmm...

14   CARLOS KEPKE:                           So, anyways, that’s what-...that’s what-...//that’s-...uh...yeah,

15                                           exactly.

16   U/C AGENT #6134:                        //No, that’s neat. That’s really neat. Yeah, I wondered why he said

17                                           he didn’t have any Amer-...an-an American client. I’m, like, well, I

18                                           thought that’s the way it worked. But maybe it’s, like, semantics or

19                                           somethin’ like //that.

20   CARLOS KEPKE:                           //Yeah...uh...

21   U/C AGENT #6134:                        So… //(SNIFFS)

22   CARLOS KEPKE:                           //Uh-huh.

                                                                     13
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 1   U/C AGENT #6134:                        Uhm...yeah, come to the-...U.S. is still a good place, Carlos.

 2                                           We’re-we’re not doin’ as well in winter games as we do the

 3                                           summer, but I’ll get better, my friend. So...//(SNIFFS)

 4   CARLOS KEPKE:                           //You think?

 5   U/C AGENT #6134:                        Uhm, well, prob’ly not. I’m just being hopeful as always, //so…

 6   CARLOS KEPKE:                           //(LAUGHS)

 7   U/C AGENT #6134:                        (CHUCKLES) Hey, I want to fill you in too, uhm-uhm...my, uh...

 8                                           my cousin Tom, uhm...so, talked to him and, uhm...you know,

 9                                           wanted to-...was tryin’-uh-...you know, did exactly what you said.

10                                           You know, kept it kinda vague and he, of course, wants to help out

11                                           and is happy to. He was asking me a couple questions, nothin’,

12                                           like, just like, he wanted to make sure he did it right and, uhm...

13                                           didn’t screw anything up and I-...he’s like, “hey, can I just”- you

14                                           know, I was like, “well, maybe you should just ask Carlos.” ‘Cause

15                                           I feel like, you know me, I-I-I-I kinda-...I don’t wanna screw up

16                                           what I’m sayin’. Uhm...would you care then if we did, like, a

17                                           three-way call with him and you can just walk him through so he

18                                           makes sure that he doesn’t screw anything up and I don’t screw

19                                           anything up. And then, hopefully we can get you that fee

20                                           agreement. I have that all ready to-to send back to you too and start

21                                           movin’ the money around and stuff. Would you mind doin’ a quick

22                                           call with him?

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 1   CARLOS KEPKE:                           Plug him in.

 2   U/C AGENT #6134:                        Okay, awesome. Let me see if, uh...hold on, let me text him and

 3                                           see if he’s //available.

 4   CARLOS KEPKE:                           //His name is Tom, as I remember, //right?

 5   U/C AGENT #6134:                        //Yeah, yes, yeah. Hold on one second here. Let me text him. I’ma

 6                                           pull the phone away from my //face here.

 7   CARLOS KEPKE:                           //Okay.

 8   (PAUSE / SHUFFLING SOUNDS)

 9   U/C AGENT #6134:                        Alright, let me loop him in here. Hold on one second.

10   (PAUSE / TELEPHONE RINGS)

11   TOM KELLER:                             Hello?

12   U/C AGENT #6134:                        Hey, Tom, it’s uh...it’s Robert. I’m gonna try to loop in here Carlos

13                                           if you’re good with that.

14   TOM KELLER:                             Uh...yeah, go ahead.

15   U/C AGENT #6134:                        Alright, give me one sec.

16   TOM KELLER:                             Alright.

17   (PAUSE)

18   U/C AGENT #6134:                        Woops, hold on… Carlos, you there?

19   CARLOS KEPKE:                           I am here.

20   U/C AGENT #6134:                        Tom, you there?

21   TOM KELLER:                             Yup.

22   U/C AGENT #6134:                        Holy //heck.

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 1   TOM KELLER:                             //I’m here.

 2   U/C AGENT #6134:                        You know what, Carlos, you don’t understand if you think I don’t

 3                                           know anything about this trust stuff, technology’s even weaker for

 4                                           me, so… (SNIFFS)

 5   CARLOS KEPKE:                           //(CHUCKLES)

 6   TOM KELLER:                             //(CHUCKLES)

 7   U/C AGENT #6134:                        //…and the fact I didn’t hang up on both of you is amazing right

 8                                           now, so…

 9   CARLOS KEPKE:                           Good.

10   U/C AGENT #6134:                        (CHUCKLES) //So-…

11   CARLOS KEPKE:                           //How you doin’ Tom?

12   TOM KELLER:                             Uh...hey, I’m doin’ alright man. I’m, uh...I’ve had better days, I’ve

13                                           had worse days. I’m doin’ pretty well.

14   CARLOS KEPKE:                           I’m sorry to hear that.

15   TOM KELLER:                             Nah, it’s all good, man. I’ve, uh-uh... I’m sure Robert has told you,

16                                           uhm, my situation and it’s, uh...you know what, uh...this is where

17                                           we’re all headed, so, it is what it is.

18   CARLOS KEPKE:                           Great attitude.

19   TOM KELLER:                             Uh...you got to. You got to.

20   CARLOS KEPKE:                           Yeah...

21   U/C AGENT #6134:                        Tom is the eternal optimist, Carlos. He’s one of those //guys you

22                                           meet…

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 1   TOM KELLER:                             //(CHUCKLES)

 2   U/C AGENT #6134:                        …and, you know, I-I wish it was under better circumstances, you’d

 3                                           meet him and you’d just go, wow. You know, he’s a special,

 4                                           special guy, so, uhm…

 5   TOM KELLER:                             Nahhh…//Robert…

 6   U/C AGENT #6134:                        //So…

 7   TOM KELLER:                             …come on now.

 8   U/C AGENT #6134:                        No, you-…

 9   TOM KELLER:                             Well, you know what. I-it- (SIGHS) what it is, is once you kinda

10                                           know when, uh...how long you have, it-...uh...everything just

11                                           becomes worth a little bit more, so you-you just try to make the

12                                           best of it, so… (SNIFFS) It’s all good man.

13   U/C AGENT #6134:                        It’s a good way. So-so, //he just-…

14   CARLOS KEPKE:                           //Yes.

15   U/C AGENT #6134:                        You know, we-we’ve talked, Carlos, he and I, and, uhm...uh... just,

16                                           you know, he had a couple questions for you, if you don’t mind.

17                                           Like I said, we wanna make sure that…

18   CARLOS KEPKE:                           Yeah...

19   U/C AGENT #6134:                        …we did it right, we did it-...you know, that everything-this is-this

20                                           is obvious-...it’s foreign to me, it’s-it’s like outer-space to-to Tom.

21                                           So, just wanna make sure that we did everything properly and then



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 1                                           we can get everything goin’, hopefully this week, next at the latest.

 2                                           So, we’ll start movin’ along. (SNIFFS)

 3   CARLOS KEPKE:                           Well-well…

 4   TOM KELLER:                             //Yeah.

 5   CARLOS KEPKE:                           //…Tom, do you have any specific questions or w-...did you want

 6                                           me to-to j-exp- ex-ex-explain in general what’s goin’ on, or what

 7                                           did you…

 8   U/C AGENT #6134:                        Yeah, you wanna //do that general thing? It’d be helpful.

 9   TOM KELLER:                             //Yeah, that would-...that’d be great.

10   U/C AGENT #6134:                        Yeah...

11   TOM KELLER:                             Yeah, I’ve got some questions that, uh...the first one is explain this

12                                           to me ‘cause, yeah…

13   U/C AGENT #6134:                        //(CHUCKLES)

14   TOM KELLER:                             //…as Robert explained it to me or tried to and I-...(CHUCKLES)

15                                           I-I think I had more questions than answers, so if you could give

16                                           me the general, that would be perfect, //and we’ll go from there.

17   CARLOS KEPKE:                           //I’ll give you-...I’ll give you the general. Uh...what I do…eh-eh-

18                                           eh, one of the-the main things I do is what-...is what I’m planning

19                                           on doing with Robert, which is…helping people to take their-their

20                                           assets, their liquid assets, and put them in a structure that allows

21                                           them to, uh...e-essentially reduce their tax and earn, if it’s-...if it’s

22                                           cash, earn tax-free. And the way to do that, eh, the-...one of the

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 1                                           ways to do that, and the principal way to do it is you do it through

 2                                           a trust. You put you’re a-...I’m being really general here now,

 3                                           Tom.

 4   TOM KELLER:                             //Sure.

 5   CARLOS KEPKE:                           //Y-y-you put your assets in a trust, uh...and if it’s a-...if it’s a

 6                                           properly drawn foreign trust, under our tax laws, foreigners,

 7                                           including foreign trusts do not pay U.S. income tax on certain

 8                                           things as, for example, capital gains…

 9   TOM KELLER:                             //Okay.

10   CARLOS KEPKE:                           //…and stuff like interest income. So if-...if what your assets are

11                                           gonna do is earn capital gains, say, from the stock market or

12                                           interest from bonds, then-then you-…

13   (TELEPHONE RINGS)

14   CARLOS KEPKE:                           …if you put it in the proper foreign trust then you’ve done what

15                                           you wanna do.

16   TOM KELLER:                             //Okay.

17   CARLOS KEPKE:                           //It also takes your assets out of your estate when you die. I mean,

18                                           you then have to pay an estate tax if-if you h-have enough to-to

19                                           pay in the first place. But the real issue is, and where you get

20                                           involved is that-uh-t-to have a proper foreign trust requires one (1)

21                                           of two (2) things – that the c-...that the creator-...well, three (3)



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 1                                           things. Number one (1), the creator of the trust, which in this case

 2                                           will be you…

 3   TOM KELLER:                             //Okay.

 4   CARLOS KEPKE:                           //…has to be related to the principal beneficiary, which is Bob.

 5                                           And I understand y’all are cousins.

 6   TOM KELLER:                             Yup, check, we got that down.

 7   CARLOS KEPKE:                           Alright, and the second (2nd) thing is the creator has to be a foreign

 8                                           relative pry-...uh...for, uh... let me say the optimal case is if the

 9                                           creator of the trust is a foreign relative…

10   TOM KELLER:                             //Mmm-hmm...

11   CARLOS KEPKE:                           //…because, well…b-because the tax law says that.

12   TOM KELLER:                             Mmm-hmm...

13   CARLOS KEPKE:                           If you don’t have a foreign relative, a-and apparently Robert

14                                           doesn’t, then what we look for is a U.S. relative with the

15                                           understanding that the trust will not work tax fr-...tax free until that

16                                           U.S. relative dies.

17   TOM KELLER:                             Mmm-hmm...//okay.

18   CARLOS KEPKE:                           //So, a-and that’s where you come in to the picture.

19   TOM KELLER:                             Sure, //okay.

20   CARLOS KEPKE:                           //Uh…but, m-...the-...because the, uh-uh-uh…consequences to you

21                                           as the creator are zero, first (1st), all you do is sign the trust

22                                           agreement…

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 1   TOM KELLER:                             //Mmm-hmm...

 2   CARLOS KEPKE:                           //…and I don’t know if Robert’s told you, and you have to f-

 3                                           ...we’re gonna fund the trust with about, I think, eight-thousand

 4                                           ($8,000.00) dollars. And I’m-...I don’t know if Robert, you had got

 5                                           into that at all with him?

 6   U/C AGENT #6134:                        Not-not-not a whole lot. I mean, just if you wanna go ahead and

 7                                           give him-...I did, but it’s always best comin’ from you, Carlos. I

 8                                           screw it up every time I try to explain it.

 9   TOM KELLER:                             Yeah...

10   CARLOS KEPKE:                           Robert, uh…he cannot-...uh...the law says that Robert cannot give

11                                           you the money to fund the trust.

12   TOM KELLER:                                       ‘Kay, did-did Robert tell you that I’ve, uh...I mean, with-

13                                           with all of this and all my medical bills and everything, I’m tapped.

14                                           That’s-...I pretty much got nothing. I’m-I’m on assistance, pretty

15                                           much, at this point.

16   CARLOS KEPKE:                           //Yes he did.

17   TOM KELLER:                                       Uhm, //okay, okay, okay.

18   CARLOS KEPKE:                           //He did tell me that. Yes, but...and I told him that while he cannot

19                                           give you ten-thous-eight-thousand ($8,000.00) dollars directly to

20                                           fund the trust, what he can do is buy something from you and pay

21                                           you x-dollars for it. Then you take eight-thousand ($8,000.00)

22                                           dollars of that x-dollars and create the trust. Now, we tossed

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 1                                           around conver-...uh-uh- Robert, am I free to talk like this with

 2                                           him?

 3   U/C AGENT #6134:                        You-...please. Uh...he-...I trust //him.

 4   CARLOS KEPKE:                           //Alright.

 5   U/C AGENT #6134:                        I trust Tom like-like-like my brother, so…

 6   CARLOS KEPKE:                           Alright.

 7   U/C AGENT #6134:                        …please do. Please do. (SNIFFS)

 8   CARLOS KEPKE:                           We-we- he told me that-that you did not have, in-in his

 9                                           //knowledge…

10   TOM KELLER:                                       //Mmm-hmm...

11   CARLOS KEPKE:                           …an asset that’d be worth ten-thousand ($10,000.00) dollars or

12                                           //eight (8)-…

13   TOM KELLER:                             //(CHUCKLES) That-that’s the, uh...that’s the nice way of putting

14                                           it. Yup. (CHUCKLES) //That is correct.

15   CARLOS KEPKE:                           //So-so what I t- so what I told him…

16   TOM KELLER:                             Mmm-hmm?

17   CARLOS KEPKE:                           …is what I suggested to him…is that he makes an- a-a written

18                                           agreement with you…

19   TOM KELLER:                             Mmm-hmm.

20   CARLOS KEPKE:                           …to buy all of the furniture…

21   U/C AGENT #6134:                        (SNIFFS)



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 1   CARLOS KEPKE:                           …all-all the furnishings, everything that’s in your house or

 2                                           apartment, upon your death, with you havin’ the right to continue

 3                                           to live there and own it, uh...use it until you die.

 4   TOM KELLER:                             Mmm-hmm...

 5   CARLOS KEPKE:                           A-and so, it-it’s an-it would be a not specific, I mean, we’re not

 6                                           gonna go through and say…

 7   U/C AGENT #6134:                        (SNIFFS)

 8   CARLOS KEPKE:                           …“the lamp with the,” you know, with the…

 9   TOM KELLER:                             (CHUCKLES) //Yeah, we wouldn’t wanna do that, ‘cause…

10   CARLOS KEPKE:                           //(UNINTELLIGIBLE)…it’s just a general thing. Just furnishings.

11   TOM KELLER:                             //Okay, eh-…

12   CARLOS KEPKE:                           //So they would-...it would be rather difficult for anyone, years

13                                           from now, if we ever get-...if he ever got audited, which he won’t,

14                                           just //so…

15   TOM KELLER:                             //Uh-huh...

16   CARLOS KEPKE:                           …to be able to decide whether those furnishings were worth eight-

17                                           thousand ($8,000.00) dollars or not.

18   (ELECTRONIC CHIME)

19   TOM KELLER:                             So we don’t have to have somebody come in and appraise it or

20                                           //anything…

21   CARLOS KEPKE:                           //No.



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 1   TOM KELLER:                             …look at it-...we-...okay, ‘cause that wouldn’t fly, but if-...as long

 2                                           as it’s-...yeah, we can say whatever we wanna say because //it’s

 3                                           just-…

 4   CARLOS KEPKE:                           //That’s exactly right. So, //that-that-that-that…

 5   TOM KELLER:                             //Because…

 6   CARLOS KEPKE:                           That’s what I //suggest.

 7   TOM KELLER:                             //…that’d be (UNINTELLIGIBLE)…couple plates, okay, sounds

 8                                           good.

 9   CARLOS KEPKE:                           Uh-uh...and you, uh...eh-eh-…and I-a-as I said-...I-...as I told

10                                           Robert, if you-...if you agree to that and Robert wants to proceed

11                                           further, then I would draw up that agreement because the quicker

12                                           we get it-...what-what we don’t want is to have that agreement

13                                           where Bob-...where-where Rob-Robert gives you x-dollars and

14                                           then you pass away two (2) days later.

15   TOM KELLER:                             Right, //right, right…

16   CARLOS KEPKE:                           //The more time that-...between that agreement, the better, i-in //my

17                                           opinion. Uh…

18   TOM KELLER:                             //Okay, yeah, we-we-yeah, well, we prob’ly oughta hurry then. I-I

19                                           agree, okay.

20   CARLOS KEPKE:                           The next thing is, I wanna be sure you understand the consequence

21                                           to you.

22   TOM KELLER:                             Yup, //that’s one of my questions.

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 1   CARLOS KEPKE:                           //You-you sign-...you will-...you will sign the trust as a creator…

 2   TOM KELLER:                             //Mmm-hmm...

 3   CARLOS KEPKE:                           //…you have no power over the trust, you go away, you’re-you’re-

 4                                           you’re not involved in the trust in any way. Uh-uh-uh...you’ve

 5                                           funded it… Uh-uh...the funding must come from you, so once-

 6                                           once you and Robert work out the deal on the furniture, he’s gonna

 7                                           give you a check or cash, or however you do it and you-...I need

 8                                           somethin’ from you so that…

 9   U/C AGENT #6134:                        (SNIFFS)

10   CARLOS KEPKE:                           …uh...the record shows that Tom fund-...and what’s your last

11                                           name, incidentally, Tom?

12   TOM KELLER:                             Uh...//Keller.

13   CARLOS KEPKE:                           //Keller, Keller, //right.

14   TOM KELLER:                             //But, yeah, so let me make sure I understand what you’re sayin’

15                                           when you say it’s comin’ from me. So that’s how we’ll use the

16                                           whole-...he’s gonna buy my-my dishes or whatever for eight-

17                                           thousand ($8,000.00) dollars, and he’s gonna send me the money

18                                           for that. And then I’m gonna put that money in my bank account

19                                           and send it to you? Is that //how that works?

20   CARLOS KEPKE:                           //Well that’s-...i-it works sorta like that. Well, he’s not gonna buy

21                                           exactly for eight-thousand ($8,000.00) dollars. He’s gonna-…

22   TOM KELLER:                             //Okay.

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 1   CARLOS KEPKE:                           //…‘cause I don’t-...uhm, he’s gonna buy it for more than eight-

 2                                           thousand ($8,000.00) dollars.

 3   TOM KELLER:                             Oh, okay.

 4   CARLOS KEPKE:                           So-eh-you know, I mean, like, so let’s say nine-thousand-two-

 5                                           hundred (9,200)…

 6   TOM KELLER:                             //Okay.

 7   CARLOS KEPKE:                           //…just to use a number, and then you’re gonna send eight-

 8                                           thousand (8,000) to me. And Tom-...I mean, uh…

 9   TOM KELLER:                             //Okay.

10   CARLOS KEPKE:                           //Robert, did we say eight (8) or seven (7). I don’t even remember.

11   U/C AGENT #6134:                        I think that-...didn’t, uhm…tsk-...uh...the Belize guy, didn’t he say

12                                           that we needed to send-...I think it only cost seven (7) but he said

13                                           send more than seven (7)?

14   CARLOS KEPKE:                           Yeah, yeah, yeah, ‘cause we need to keep a thousand. Eight (8)-

15                                           ...so we’re gonna send (8). Uhm...you’re right.

16   U/C AGENT #6134:                        So then…

17   CARLOS KEPKE:                           //It’s eight (8).

18   U/C AGENT #6134:                        //…what do we do with the other twelve-hundred (1,200) then?

19   CARLOS KEPKE:                           That’s between you and Tom.

20   U/C AGENT #6134:                        Okay, alright, yeah…

21   CARLOS KEPKE:                           //Uh-…

22   U/C AGENT #6134:                        //…that can be for you helpin’ out, yeah, definitely, //okay.

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 1   TOM KELLER:                             //Yeah, okay, //cool...

 2   CARLOS KEPKE:                           //Anyways, uhm… (SIGHS) Then you-you-so you-you fund the

 3                                           trust by sending exact-...transmitting the-the money to me in some

 4                                           way that’s tra-...that shows it’s from you, either by check, uh-uh-

 5                                           uh...wire transfer or whatever’s easiest for you, however you

 6                                           wanna do it.

 7   TOM KELLER:                             //Okay.

 8   CARLOS KEPKE:                           //Uh...a-and I’ll-I’ll tell you it-it-and-and the money won’t be made

 9                                           payable to me, it’ll made- be made payable to the…to the-...to the

10                                           Belize trustee. Uh... all this //information…

11   TOM KELLER:                             //Mmm-hmm...

12   CARLOS KEPKE:                           …out, uh... Bob will have… when you transfer…

13   TOM KELLER:                             //’Kay.

14   CARLOS KEPKE:                           …the money.

15   TOM KELLER:                             Okay.

16   CARLOS KEPKE:                           You send it to me, but it’ll be made payable to-to, uh-…well, if

17                                           you wire it, it goes into my trust account if you-...if you give me a

18                                           check and make the check is payable to me. It-...I mean, it’s

19                                           payable to the trustee. But we’ll get to the details of that when-

20                                           when-when we get the deal done-...started.

21   TOM KELLER:                             //’Kay.

22   CARLOS KEPKE:                           //Uh...but, you-you will-...do you have a CPA?

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 1   TOM KELLER:                             No.

 2   CARLOS KEPKE:                           Eh-...you will be required to file a-an-...a document. It’s not a tax

 3                                           return, but do you file a tax return?

 4   TOM KELLER:                             Uh...yeah, I have in the past. I-I-I mean, I don’t know what I need

 5                                           to do for this year because I have-...I mean, an-anything I have is

 6                                           really just dwindle-...I haven’t had income and it’s just dwindled.

 7                                           My assets have dwindled down because I’ve been payin’ all these

 8                                           medical expenses, so //I-I mean…

 9   CARLOS KEPKE:                           //Yeah.

10   TOM KELLER:                             …I don’t know.

11   CARLOS KEPKE:                           Well, at any //event…

12   TOM KELLER:                             //But-…

13   CARLOS KEPKE:                           The-...uh-...//(UNINTELLIGIBLE)…

14   TOM KELLER:                             //And what do I have to do for this now? I gotta…

15   CARLOS KEPKE:                           //It’s-it’s…

16   TOM KELLER:                             //…gotta file somethin’?

17   CARLOS KEPKE:                           There’s a form that needs to be filed. Uh...the base-...it’s a-...it’s a

18                                           information return. It basically, it goes to the IRS and it basically

19                                           tells the IRS that you created a trust. That’s what-...and you have to

20                                           file it every year that you’re alive. //So it…

21   TOM KELLER:                             //Okay.



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 1   CARLOS KEPKE:                           …you know, it-it-if you-...if you-...uh-...and-and the trust will not

 2                                           make any money until you pass away.

 3   TOM KELLER:                             //’Kay.

 4   CARLOS KEPKE:                           //It won’t n-uh-uh-and it will be-...it’ll just sit-...uh-uh-...well,

 5                                           that’s a decision Robert has to do ‘bout what he wants to do, but,

 6                                           probably he won’t-...he won’t fund the trust beyond the eight-

 7                                           thousand ($8,000.00) dollars until you pass away. In other words,

 8                                           there’s a whole strategy that we go through in order to get his

 9                                           money in the trust. He doesn’t just put the money in. We go

10                                           through a complicated strategy that really-n-not relevant to you

11                                           ‘cause you’re not involved in it.

12   TOM KELLER:                             Yeah, I’ll be gone by that point. Okay, sounds like.

13   CARLOS KEPKE:                           Uh-…

14   TOM KELLER:                             Alright.

15   CARLOS KEPKE:                           So, that’s it, my friend. That’s the whole deal.

16   TOM KELLER:                             Okay, well, so let me make sure that I understand what you’re

17                                           saying. You said that-uh... let’s talk about, you said my

18                                           involvement is being the creator. ‘Cause understand here, yeah, the

19                                           doctors have given me, uh...yeah, I keep pushing them for, you

20                                           know, how long do I actually have? And they’re just telling me it’s

21                                           between six (6) and twelve (12) months. But I’ve heard that for a

22                                           while now, so I really don’t know how long I’m gonna be here. So,

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 1                                           w-whuh-how-how involved do you need me to do- to be? You said

 2                                           I have to sign some documents //and then…

 3   CARLOS KEPKE:                           //And I have doc-...you sign the trust, that’s all…

 4   TOM KELLER:                             M-m-...//sign the trust?

 5   CARLOS KEPKE:                           //Sign the trust document as the creator, and //you’re out of it.

 6   TOM KELLER:                             //Yeah.

 7   CARLOS KEPKE:                           That’s it. You’re through.

 8   TOM KELLER:                             S-so in the future there’s not gonna be any other documents for me

 9                                           to sign or anything like that? It’s one (1) //time doc-…

10   CARLOS KEPKE:                           //Except-except-except for the form I mentioned, the information

11                                           //return…

12   TOM KELLER:                             //Mmm-hmm...

13   CARLOS KEPKE:                           …form. If you should live another year…

14   TOM KELLER:                             Mmm-hmm... //Okay...

15   CARLOS KEPKE:                           //…you know, then you will file the same form again in the next

16                                           year and the next year, that’s all. But there’s no documents other

17                                           than that one (1) form.

18   TOM KELLER:                             Is that a form that you can help me with? Is that something you

19                                           provide and I just sign it and send it in or, whuh-...//how do I do

20                                           that?




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 1   CARLOS KEPKE:                           //I could do that. I can do that. It’s-it’s called thirty-...it’s called

 2                                           form thirty-five-twenty (3520). I can-...it’s a simple matter. I can

 3                                           do that.

 4   TOM KELLER:                             Okay, so, the only thing I do, I sign the trust, I sign this form that

 5                                           you’re gonna send me, I send those, uh-...I-I guess the trust goes

 6                                           back to you or to Robert. The other one goes to the IRS, it sounds

 7                                           like. And then after that, you don’t need me to do anything, I’m

 8                                           out, //eventually, okay.

 9   CARLOS KEPKE:                           //You’re out. You’re out.

10   TOM KELLER:                             And then, as far as the money, I know we talked about, yeah,

11                                           Robert’s gonna buy my (CHUCKLES) buy my dishes or whatever

12                                           for ninety-two-hundred (9,200). Uhm, the money-...that money

13                                           comes in, I send the eight-thousand (8,000) to you or the trustee or

14                                           however we-we figure that out…

15   CARLOS KEPKE:                           Right.

16   TOM KELLER:                             And then, after that point, w-what other money do I have to put in

17                                           or what involvement do I have in the money, if any, at that point?

18   CARLOS KEPKE:                           Zero.

19   TOM KELLER:                             Zero, //okay.

20   CARLOS KEPKE:                           //Zero. You’ve done your job. You created a-...you created a trust

21                                           for your cousin a-and-and at the time you created it, it-it was an

22                                           eight-thousand ($8,000.00) dollar trust.

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 1   TOM KELLER:                             Okay, gotcha. And then, uhm...a-a-as far as the-the form that I file

 2                                           with the IRS, then, whuh-...does that trigger them to do anything

 3                                           with me? Is that gonna cause me any issues, I guess is my

 4                                           question, with the IRS, uhm...either before I die or any issues,

 5                                           uhm, after I die that somebody else is gonna have to deal with,

 6                                           with the IRS?

 7   CARLOS KEPKE:                           Well, I’m s-...I prob’ly created-...uh...I’m g-gonna guess maybe,

 8                                           oh, three (3) or four-hundred (400) form-f-uh-f-uh-trusts like this,

 9                                           maybe more…

10   TOM KELLER:                             //Mmm-hmm...

11   CARLOS KEPKE:                           //And not once-...not one time has the IRS ever m-made any

12                                           inquire or had anything to do with that form.

13   TOM KELLER:                             Okay.

14   CARLOS KEPKE:                           A-and point, in fact, that form doesn’t even go to the normal IRS

15                                           place wherever you file your return. It goes to some office in-...uh-

16                                           either Utah or Philadelphia. I can’t even remember where it is now.

17                                           Uh...//but, uh... it’s…

18   TOM KELLER:                             //Mmm-hmm...

19   CARLOS KEPKE:                           …it’s- no. It-it-the short answer to that is you would be the first

20                                           that I //know of…that have-...that an inquiry-...

21   TOM KELLER:                             //(LAUGHS) I’d rather not be, but okay. //(LAUGHS)

22   CARLOS KEPKE:                           //Well, you won’t be. You won’t be.

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 1   TOM KELLER:                             Fair enough. So, eh-...uh-uh- so, it sounds like once I’ve filed that,

 2                                           uhm...I’m not gonna have any issues but then I’m gonna be gone

 3                                           and then after I die, if there’s any question with that, is that gonna

 4                                           be anything that comes back on Robert? Is he gonna have any

 5                                           issues with IRS because of-...because of this?

 6   CARLOS KEPKE:                           He won’t have any issues with the IRS because of-...because of

 7                                           the-the form you filed. The only //issue…

 8   TOM KELLER:                             //Okay.

 9   CARLOS KEPKE:                           …that the IRS will ever have on Robert, if they ever had one, and

10                                           once again, I will say I’ve never had this happen – but, you know,

11                                           could always a first time – i-is-if they for some reason, decided to

12                                           look into the trust, which is highly unlikely because they won’t-

13                                           see, they won’t even know Robert’s name.

14   TOM KELLER:                             //Mmm-hmm...

15   CARLOS KEPKE:                           //They-they just know there’s a trust, you know?

16                                           //(UNINTELLIGIBLE)…

17   TOM KELLER:                             //So that doesn’t even have to go on the form, //uh...his name?

18   CARLOS KEPKE:                           //Uh...his-his name, uh...d-does not go on the form, I don’t think. I

19                                           haven’t filed one in a while, but I-I mean, I have never…

20   TOM KELLER:                             //Okay.

21   CARLOS KEPKE:                           //…filed one, if you want to know the truth, but-... ‘cause mostly

22                                           the //CPA’s do it.

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 1   TOM KELLER:                             //(CHUCKLES)

 2   CARLOS KEPKE:                           But I-...but I…

 3   TOM KELLER:                             //Okay.

 4   CARLOS KEPKE:                           //…can do it ‘cause I know it’s a simple form. But, the only issue

 5                                           that would-would ever come up, and that’s why I’m being so

 6                                           careful here, would-would-would be an issue of, well, the-...we-

 7                                           was Robert the creator of the trust or was Tom the creator of trust?

 8   TOM KELLER:                             //And I would be the-…

 9   CARLOS KEPKE:                           //And that goes-...that goes…

10   TOM KELLER:                             //…the-…

11   CARLOS KEPKE:                           //…to the money issue. The way we-...the way that the eight-

12                                           thousand ($8,000.00) dollars gets in there.

13   TOM KELLER:                             //(UNINTELLIGIBLE)…

14   CARLOS KEPKE:                           //That’s why I’m-...why I’m-...that’s why I wanna closely

15                                           document that he bought X – you know, whatever X, you know,

16                                           furnishings at such and such location…

17   TOM KELLER:                             //Mmm-hmm...

18   CARLOS KEPKE:                           //…to take possession on such and such a date, and all-...and-

19                                           ...it’ll-it’ll be kind of like, uh-uh-uh...an agreement, slash,

20                                           receipt…

21   TOM KELLER:                             //Mmm-hmm...



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 1   CARLOS KEPKE:                           //…that will-...just-I’ll just stick in the file, and the...you know,

 2                                           once again, if-if he was ever audited, which he would-...it also

 3                                           would be the first (1st). (CHUCKLES)

 4   TOM KELLER:                             //Mmm-hmm...

 5   CARLOS KEPKE:                           //I never had a client audited for any-any trust //I’ve ever done.

 6   TOM KELLER:                             //Yeah, that’s…that’s //good.

 7   CARLOS KEPKE:                           //Then-then I can say, and-eh-eh-I-I- well, y-you know where I’m

 8                                           goin’ on that. That’s why-…

 9   TOM KELLER:                             Yeah, yeah, uh...i-it, you know, you brought up somethin’ made

10                                           me wonder, ‘cause it sounds like this is a pretty important, uh...y-

11                                           you know, proving that he bought something, uh...that was-...that

12                                           was worth eight-thousand (8,000), which, I mean, whatever I have

13                                           isn’t worth eight-thousand (8,000), clearly. But is there gonna be

14                                           any way, uh...I guess after I’m gone, uh...is there any way that they

15                                           can come back and find out that that wasn’t worth eight-thousand

16                                           (8,000)? ‘Cause it sounds like that’s what it all kinda hinges on,

17                                           and as long as-...as long as I’m gone, I can’t say anything, and as

18                                           long as Robert doesn’t tell ‘em, they’re not gonna know, right?

19   CARLOS KEPKE:                           Well, we’re gonna-...we’re gonna phrase…eh- wr-wr-write the,

20                                           uh...the sales agreement for your furnishings in such a way that it

21                                           would be extremely difficult for anybody to say yes or no on that

22                                           because we’re gonna-...we are going to…list…in some fashion

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 1                                           what-what we’re selling, without putting a value on any particular

 2                                           item in there…

 3   TOM KELLER:                             //Okay.

 4   CARLOS KEPKE:                           //So then, for example, I mean, just to use your example, if you say

 5                                           “dishes and a chair…”

 6   TOM KELLER:                             //Mmm-hmm...

 7   CARLOS KEPKE:                           //…and-and-and, “a table and a bed,” or whatever… Well, I mean,

 8                                           when-...ten (10) years from now if he’s ever audited…well, what,

 9                                           prob’ly six (6), because you gotta be audited within six (6) years.

10                                           Six (6) years from now we-we can say, “you know, those dishes

11                                           were,” you know, whatever they were. Whatever that chair, well,

12                                           //you know…

13   TOM KELLER:                             //(CHUCKLES)

14   CARLOS KEPKE:                           We just-...we just-...we just said we were gonna take all the

15                                           furniture and dishes together and we’re gonna-...we said-...we

16                                           argued about it. We’re gonna p-...we were-...I was gonna do ten-

17                                           thousand ($10,000.00) dol-...he wanted ten (10), we did-...ended

18                                           up at nine (9) to-...and-and-...I mean, that’s the way we-…

19   TOM KELLER:                             //Okay, okay.

20   CARLOS KEPKE:                           //That’s the way I deal with-...but. Huh-huh-…

21   TOM KELLER:                             //Okay.



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 1   CARLOS KEPKE:                           //I can’t emphasize enough though, Tom, and I do appreciate your

 2                                           concern for your cousin gettin’ any trouble here, but, this-this is

 3                                           not gonna happen. It has never happened with me. The-...uh- the-

 4                                           …

 5   TOM KELLER:                             Okay.

 6   CARLOS KEPKE:                           …you know, and it-...you know, and I-...and I’m not-...and I’m not

 7                                           belittling in any way Robert’s trust, but now, if this were a-...if this

 8                                           were a four-hundred and fifty (450) million-dollar trust…

 9   TOM KELLER:                             //Mmm-hmm...

10   CARLOS KEPKE:                           //…you know? It might be a little different story. They might look

11                                           at that, you know, just because it’s a four-hundred-fifty (450)

12                                           million-dollar trust.

13   TOM KELLER:                             //I see, right.

14   CARLOS KEPKE:                           //They’re not gonna-...they’re not gonna look at Robert’s trust.

15   TOM KELLER:                             Okay, this is below whatever they-...okay, I-I follow you.

16   CARLOS KEPKE:                           I mean, I have a…

17   TOM KELLER:                             But-…

18   CARLOS KEPKE:                           …number of four-hundred-fifty (450)-plus million-dollar trusts,

19                                           and they’ve never been looked at. So, you know…

20   TOM KELLER:                             Hmm…okay, well that gives me some comfort then.

21   CARLOS KEPKE:                           Yeah...



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 1   TOM KELLER:                             And then one-once I’m gone, uhm...and-and the money’s in the

 2                                           trust, eh...then it’s-...then it’s Robert’s deal and he can do whatever

 3                                           he wants with it? It’s-...he’s not gonna run into any issues with,

 4                                           you know, uh...I-I’m gone now so I can’t help him do whatever.

 5                                           He-he-he has full control, I guess is what I’m asking, of

 6                                           everything, after I’m gone, right?

 7   CARLOS KEPKE:                           Exactly. He has full control while you’re alive too, to-...well…

 8   TOM KELLER:                             Oh, okay.

 9   CARLOS KEPKE:                           He-...you’re outta-...once you sign it, you’re outta-...you have no-

10                                           no powers over the trust. You can’t retract it, you can’t close it

11                                           down, you can’t take any money out of it. You’re out of it. You

12                                           just are a ni-...it’s kinda like-...it’s kinda like, Tom, if you had a-

13                                           ...if you had a-a-a-a grandmother, uh...l-l-living somewhere, and

14                                           she said, uh...“you know, Tom, I’m gonna create a trust for you.

15                                           I’ma put a hundred ($100,000.00) grand in. You can use it to-...you

16                                           can use it to, uh-uh...go to college with, or blah-blah-blah, give it

17                                           to your kids,” whatever. And she does that, your grandmother does

18                                           that…

19   TOM KELLER:                             Mmm-hmm...

20   CARLOS KEPKE:                           And that-m-m-she-that-that’s the end of the story for your

21                                           grandmother. Once she’s put her money in a trust, she can’t get it

22                                           out. If it’s-you know…

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 1   TOM KELLER:                             //Oh…

 2   CARLOS KEPKE:                           //…it’s the kind of trust I’m talkin’ about. //It’s-...yeah.

 3   TOM KELLER:                             //I see what you’re sayin’. So, I’m gonna make Robert a trust fund

 4                                           baby. //(LAUGHS)

 5   CARLOS KEPKE:                           //That’s what you’re gonna do. You’re gonna make him-...you’re

 6                                           gonna make him a trust fund baby. (CHUCKLES)

 7   TOM KELLER:                             Hey, you’re welcome, Robert.

 8   U/C AGENT #6134:                        //(CHUCKLES)

 9   TOM KELLER:                             //(CHUCKLES) Don’t spend it all in one (1) place. Uhm-...//uh...

10                                           alright, well I-…

11   U/C AGENT #6134:                        //Don’t worry, we’ll use the French term when we describe Tom’s

12                                           dishes. We’ll say they’re from Targét, not Target…

13   TOM KELLER:                             Yeah. //(CHUCKLES) Yeah, exactly, yeah, I-I did…

14                                           (CHUCKLES)

15   U/C AGENT #6134:                        //So that’s-what we’d say...that or J.C. Pennéy, instead of Penny,

16                                           so, yeah.

17   TOM KELLER:                             ..I’ll-I’ll appreciate my dishes that much more now.

18   U/C AGENT #6134:                        (CHUCKLES)

19   TOM KELLER:                             (LAUGHS) Uhm...well, I think that-...I began-...I wrote down

20                                           some questions. Let me make sure I’ve covered everything. I think

21                                           we have here. Uhm…(SIGHS) You talked about the-the

22                                           documents that I have to do. You know, am I gonna have to

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 1                                           maintain copies of these documents or do you keep those and,

 2                                           //uhm…

 3   CARLOS KEPKE:                           //Uh...you’re gonna sign-...you’re gonna sign three (3) originals,

 4                                           three (3) originals of a trust document. One (1) is gonna-...one (1)

 5                                           is gonna go to me…

 6   TOM KELLER:                             Mmm-hmm...

 7   CARLOS KEPKE:                           …one (1) is gonna go to-to, uhm...the trustee in Belize…

 8   TOM KELLER:                             Mmm-hmm...

 9   CARLOS KEPKE:                           ...and-and one (1) is gonna go to Robert.

10   TOM KELLER:                             Okay.

11   CARLOS KEPKE:                           Uh...and as for you, if you want one, we will get-...make a-...we’ll

12                                           make a-a copy of one for you.

13   TOM KELLER:                             Okay, I don’t know why I would need it, //uhm, yeah, I-…

14   CARLOS KEPKE:                           //I don’t know what you need, but if you want one, I, you know,

15                                           it’s a simple matter of makin’ a copy.

16   TOM KELLER:                             Uhm, you know what I was more concerned with is that I’m not

17                                           gonna be responsible to-to main-to maintain something or other

18                                           because I’m not gonna be around, and wherever I put it, who

19                                           knows where it’s gonna go and, //uh...it sounds like…

20   CARLOS KEPKE:                           //You don’t need to-...you don’t need to-...you don’t need to keep a

21                                           copy of it even…

22   TOM KELLER:                             Yeah.

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 1   CARLOS KEPKE:                           …once…

 2   TOM KELLER:                             //J-j-just-just these copies.

 3   CARLOS KEPKE:                           //I could send a (UNINTELLIGIBLE)…to the trustee, uh...that’s-

 4                                           that’s where it’ll-that’s where…

 5   TOM KELLER:                             Okay.

 6   CARLOS KEPKE:                           …the main original will be with the trustee in-in Belize.

 7   TOM KELLER:                             Yeah, okay, I-...‘cause I’m thinkin’ Rob-Robert loses his copy, you

 8                                           know, he can’t come to me for it, but he can come-...sounds like he

 9                                           could come to you for your copy or the other trustee guy…

10   CARLOS KEPKE:                           Sure.

11   TOM KELLER:                             …for his copy or whatever.

12   CARLOS KEPKE:                           E-e-exactly.

13   TOM KELLER:                             Okay, uhm...tsk-...well this-this sounds like a pretty good deal for

14                                           Robert and that’s really what I’m-...I- you know, I don’t care about

15                                           it, uh...affecting me one way or the other as long as I don’t to do

16                                           anything after I’m not able to. So, I-I’m-I’m comfortable w-with

17                                           what we’re talkin’ about. Uhm...I think that’s all I had. Robert, you

18                                           and I had that-that conversation about-...is-is there anything else I

19                                           haven’t brought up that, uhm...that we haven’t talked about that we

20                                           need to talk about yet?




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 1   U/C AGENT #6134:                        I don’t think. I think, so, Carlos, he’s gettin’ together his-...you

 2                                           need his driver’s license, his, uhm...like, a reference letter from his

 3                                           bank, and…was it a utility bill – were those the //three (3) things?

 4   CARLOS KEPKE:                           //That’s it.

 5   U/C AGENT #6134:                        Okay.

 6   CARLOS KEPKE:                           That’s it.

 7   U/C AGENT #6134:                        Yeah, I can get those together and I’ll, uh-...so if I-I’ll e-mail you

 8                                           that stuff and then I’ll get you th-that and the fee agreement and

 9                                           then…

10   CARLOS KEPKE:                           Uhm, do you have a-...do you have a passport, Tom?

11   TOM KELLER:                             No, I don’t.

12   CARLOS KEPKE:                           Okay, driver’s license will do, then.

13   TOM KELLER:                             //Okay.

14   CARLOS KEPKE:                           //All they want is a picture of you, so-...//on-on…

15   TOM KELLER:                             //Oh, okay.

16   CARLOS KEPKE:                           …on a-...on an official…document – d-driver’s license is official

17                                           document.

18   U/C AGENT #6134:                        //You don’t-…

19   TOM KELLER:                             //Perfect, I-I like my driver’s license picture too. I look-...I look

20                                           healthy in that picture. That’s good-...that’s a good one to send.

21   CARLOS KEPKE:                           //(CHUCKLES)

22   U/C AGENT #6134:                        //(CHUCKLES)

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 1   TOM KELLER:                             //(CHUCKLES) That’s how they can remember me.

 2                                           (CHUCKLES)

 3   CARLOS KEPKE:                           I am-...have-...in my-...I look sick in mine. //(CHUCKLES)

 4   TOM KELLER:                             //(LAUGHS) That’s so funny.

 5   U/C AGENT #6134:                        //(LAUGHS) That’s awesome. Do you want-...and then, how do

 6                                           you want me to pay, uhm...I have to pay you too, then, Carlos,

 7                                           when I sign that fee agreement. Do I, uh-...duh...send you a check

 8                                           or wire? What do you usually prefer?

 9   CARLOS KEPKE:                           Whatever way you wanna do it.

10   U/C AGENT #6134:                        //Aright.

11   CARLOS KEPKE:                           //Whatever’s easiest for you, and…

12   U/C AGENT #6134:                        Okay.

13   CARLOS KEPKE:                           …you know?

14   U/C AGENT #6134:                        Suitcase of cash – I’ll drop it off, //so… (CHUCKLES)

15   TOM KELLER:                             //(CHUCKLES)

16   U/C AGENT #6134:                        Uhm, alright, excellent. Well, we will-...I appreciate your time,

17                                           Carlos, very much as always. I’ll get together with Tom, we’ll get

18                                           this stuff pulled for ya’ and by next week, eh, by the end of next

19                                           week I’ll have everything to ya. Prob’ly by-...actually…

20   CARLOS KEPKE:                           //Uh-…

21   U/C AGENT #6134:                        //…by the middle of next week, I’m hopin’, so…

22   CARLOS KEPKE:                           Uh... Bob, one thing I need you to do quicker than that, //maybe…

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 1   U/C AGENT #6134:                        //Absolutely.

 2   CARLOS KEPKE:                           …is send me- send me a-an e-mail with, uh...so I can start-...so I

 3                                           can draft that agreement for the furnish-furnishings.

 4   U/C AGENT #6134:                        ‘Kay.

 5   CARLOS KEPKE:                           Send me, uh...Tom’s, uh...address…

 6   U/C AGENT #6134:                        ‘Kay.

 7   CARLOS KEPKE:                           …the-the address where the furnishings are.

 8   U/C AGENT #6134:                        Okay. (SNIFFS)

 9   TOM KELLER:                             //Hmm…

10   CARLOS KEPKE:                           //Uh...and-...uhm, Tom, do you have a car?

11   TOM KELLER:                             Not anymore.

12   CARLOS KEPKE:                           Uh...g-g-give-g-guh-uh-eh-...give me…a-a-a- an idea of what the

13                                           furnishings are, l-like, you know, duh-eh-just list, eh, lamps, tables,

14                                           chairs, bed, dishes…

15   U/C AGENT #6134:                        (SNIFFS)

16   CARLOS KEPKE:                           …linens…or-or just some- a-as much- as full as you can, so I can

17                                           make it sound like as much stuff as…

18   TOM KELLER:                             (CHUCKLES)

19   CARLOS KEPKE:                           …that could be leaned towards the eight-thousand ($8,000.00)

20                                           dollar number, if you follow me.

21   TOM KELLER:                             Sure.

22   CARLOS KEPKE:                           Okay.

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 1   U/C AGENT #6134:                        (SNIFFS) //Yeah.

 2   TOM KELLER:                             //We will get creative. (CHUCKLES)

 3   CARLOS KEPKE:                           Yeah, get creative.

 4   U/C AGENT #6134:                        Yeah, we’ll-we’ll-we’ll get somethin’ to ya’, Carlos, and then you

 5                                           go ahead and take whatever we send and you have-d-you have

 6                                           both of us on the phone, we’re both tellin’ ya, you know, we trust

 7                                           you, so you-you make it into whatever you think’ll look right. We

 8                                           don’t want anything comin’ back five (5) years from now. You

 9                                           know what’ll…

10   TOM KELLER:                             //Yeah.

11   U/C AGENT #6134:                        //…what’ll look good, so, we’ll follow up //with you…

12   TOM KELLER:                             //’Kay.

13   U/C AGENT #6134:                        …and, again, I appreciate-...yeah, we’ll get ya-...we’ll get you that

14                                           e-mail by tomorrow and maybe we’ll even get you some the

15                                           documents by tomorrow too.

16   CARLOS KEPKE:                           //Thank you, my friend.

17   TOM KELLER:                             //Thank you, Carlos.

18   U/C AGENT #6134:                        Alright.

19   TOM KELLER:                             Thank-thanks for lookin’ out for-for Robert. I appreciate it. Sounds

20                                           like he’s in good hands the way you’re //doing everything right for

21                                           him, so.

22   CARLOS KEPKE:                           //Sound-...you sound like a good guy.

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 1   TOM KELLER:                             Nah… //I try...

 2   CARLOS KEPKE:                           //I like a good guy, Tom.

 3   TOM KELLER:                             //(CHUCKLES)

 4   CARLOS KEPKE:                           //Thank you, my friend. Take it //easy.

 5   TOM KELLER:                             //Alright, thanks. Thanks, guys.

 6   U/C AGENT #6134:                        Thanks.

 7   CARLOS KEPKE:                           Bye.

 8   U/C AGENT #6134:                        Bye. (SNIFFS)

 9   (BRIEF PAUSE)

10   U/C AGENT #6134:                        No, I think we’re good, Carlos. I’ll, uhm...I’ll, like I said…

11   CARLOS KEPKE:                           //(UNINTELLIGIBLE)…

12   U/C AGENT #6134:                        //…I’ll get you an e-mail by tomorrow, by end of day tomorrow.

13   CARLOS KEPKE:                           And don’t forget everything. And, I mean, s-s-...just say if he’s got

14                                           any pictures, just say “paintings.”

15   U/C AGENT #6134:                        ‘Kay.

16   CARLOS KEPKE:                           That’s all. Just say paintings. You know, uh...re-...you know what I

17                                           want. I need you to build it up and make //seem like…

18   U/C AGENT #6134:                        //Yeah, no, I’ll try to-...I-I’m-I’m being frank with ya’, the guy has,

19                                           like, last time I was in there, I mean, it’s-it’s about as sterile as a

20                                           freakin’ hospital room is what his apartment looks like.

21   CARLOS KEPKE:                           Oh...



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 1   U/C AGENT #6134:                        He just doesn’t have anything. So, I’ll get you what I know and

 2                                           then, honestly, I’m tellin’ ya’, you have-...I have-...Carlos, I-I trust

 3                                           you. Obviously, I’m trustin’ you here with all my money here

 4                                           soon. You-you do whatever you think-...you know what’ll work. I-

 5                                           this stuff’s so-so new to me and then we’ll-we’ll make it work. I’ll

 6                                           sign off on-...we’ll be good. And Tom, I know him. Now that he

 7                                           talked to you he feels a hundred (100%) percent comfortable. So,

 8                                           uhm…

 9   CARLOS KEPKE:                           Good.

10   U/C AGENT #6134:                        So you-you just write in whatever and we’ll-we’ll make it work.

11                                           He’ll sign it and so will I, so we’ll be good.

12   CARLOS KEPKE:                           Alright.

13   U/C AGENT #6134:                        Alrighty, thank you, Carlos.

14   CARLOS KEPKE:                           Bye-bye.

15   U/C AGENT #6134:                        Take care.

16   (BRIEF PAUSE)

17   CARLOS KEPKE:                           (UNINTELLIGIBLE / FADES)…almost forgot.

18   U/C AGENT #6134:                        Yeah, yeah?

19   CARLOS KEPKE:                           O-one other thing.

20   U/C AGENT #6134:                        Yeah?

21   CARLOS KEPKE:                           H-h-how do you plan on giving, uh...nine-thousand-two-hundred

22                                           ($9,200.00) dollars?

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 1   U/C AGENT #6134:                        Uhm...I was gonna prob’ly either give him a check or wire it to

 2                                           him or somethin’ like that.

 3   CARLOS KEPKE:                           Uh...you know what? Uh-uh-eh-eh-eh-uh...what I would do, if it

 4                                           were me…

 5   U/C AGENT #6134:                        Yeah?

 6   CARLOS KEPKE:                           I would, uh...I would give it to him in cash.

 7   U/C AGENT #6134:                        ‘Kay.

 8   CARLOS KEPKE:                           And I would m-make withdrawals from your bank, not one

 9                                           withdrawal of nine-thousand-two-hundred (9,200), but thousand

10                                           ($1,000.00) dollars here, a thousand ($1,000.00) dollars there…

11   U/C AGENT #6134:                        //Okay.

12   CARLOS KEPKE:                           //You know what I’m sayin?

13   U/C AGENT #6134:                        Okay, yup, yup, //yup.

14   CARLOS KEPKE:                           //Eh, you follow what I’m sayin’?

15   U/C AGENT #6134:                        I know what you’re sayin’. So yeah, we gotta make-...yeah, I don’t

16                                           want nine-thousand (9,000) goin’ in, nine-thousand (9,000) comin’

17                                           out.

18   CARLOS KEPKE:                           That’s exactly right.

19   U/C AGENT #6134:                        Yeah, no, I’ll make sure that it’s, uh...I gotcha, that it’s kinda, like,

20                                           uhm…(SNIFFS) It’s not gonna //(UNINTELLIGIBLE)…

21   CARLOS KEPKE:                           //So that’s it.

22   U/C AGENT #6134:                        Go ahead.

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 1   CARLOS KEPKE:                           ‘Cause, see, like, if you get-...yeah, okay, well, you understand

 2                                           where I’m goin’ there.

 3   U/C AGENT #6134:                        So it’s…

 4   CARLOS KEPKE:                           Yeah?

 5   U/C AGENT #6134:                        Well…yeah, I don’t wanna…I can’t give him nine ($9,000.00)

 6                                           grand… You don’t wanna-...would you rather, uh...my, like, one of

 7                                           my business accounts?

 8   CARLOS KEPKE:                           Doesn’t matter.

 9   U/C AGENT #6134:                        Okay.

10   CARLOS KEPKE:                           Doesn’t matter. Whatever-eh-eh-eh-whatever-huh-uh-...whichever

11                                           one you wanna do to, uhm...you-...I-I’m just tryin’ to say-...what

12                                           I’m tryin’ to say is that-that if you give him cash, then-then his

13                                           deposits don’t show as-as coming from a check from you.

14   U/C AGENT #6134:                        Oh…I gotcha. I gotcha. Yeah, yeah, yeah, yeah, yeah, ‘cause-...uh-

15                                           see, again, why I’m turnin’ to you, Carlos. I don’t wanna do

16                                           somethin’ stupid here where I’m gonna mess-...right? I mean…

17   CARLOS KEPKE:                           Well, you can. You can technically write him a check and it could

18                                           sh-sh-show it came from you and we just-...we’d be relying on the-

19                                           on the- on the sales //certificate…

20   U/C AGENT #6134:                        //Yeah.




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 1   CARLOS KEPKE:                           …of furnishings, but why even give ‘em a chance to get that far? I

 2                                           mean, you’re-you’re not gonna be-...well, I can’t talk-you-you

 3                                           gotta understand what I do. I am a extremely conservative lawyer.

 4   U/C AGENT #6134:                        Yeah, no, I can //tell.

 5   CARLOS KEPKE:                           //Very, very conservative lawyer. Uh-uh...I mean, I don’t-...I don’t-

 6                                           I do…eh-eh-eh-uh-uh-w-what we’re doin’ is in-in a sense,

 7                                           aggressive tax planning. When I say aggressive, what I mean by

 8                                           aggressive is that not a lot of people do it because not a lot of

 9                                           people can afford to do it.

10   U/C AGENT #6134:                        Yup.

11   CARLOS KEPKE:                           You know, you gotta-...we wouldn’t-...we wouldn’t be goin’

12                                           through this trust if you were gonna put twenty-five-thousand

13                                           ($25,000.00) dollars in it, //you know what I’m sayin’?

14   U/C AGENT #6134:                        //Mmm-hmm, mmm-hmm, //absolutely.

15   CARLOS KEPKE:                           //So…

16   U/C AGENT #6134:                        Yes. (SNIFFS)

17   CARLOS KEPKE:                           So, I won’t-what-I’ma-I’ma cross the T and dot the I’s kinda guy.

18   U/C AGENT #6134:                        No, it’s-well, it’s better. I mean, the less…

19   CARLOS KEPKE:                           Yeah.

20   U/C AGENT #6134:                        That-that-the more stuff that we have that they can’t-...right, it just

21                                           confuses ‘em more. So instead of just having the document, now



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1                                           all the sudden they can’t even trace the funds. No, I-I gotcha. It’s

2                                           even-...it’s even better, so, okay. No, that’s a good…

3   CARLOS KEPKE:                           //Alright.

4   U/C AGENT #6134:                        //…piece of advice. Alright, thank you //Carlos.

5   CARLOS KEPKE:                           //Have a good day.

6   U/C AGENT #6134:                        Alright, you too. Bye.

7   (END OF RECORDING)

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